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1                                                                      Hon. John C. Coughenour

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8                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
9
      JEFFREY CHEN, individually,
10
                         Plaintiff,                             Case No. 11-cv-02119-TSZ
11
                    v.                                          DECLARATION OF MARIANNE K.
12                                                              JONES IN SUPPORT OF PLAINTIFF
      CITY OF MEDINA, a public agency and                       CHEN’S MOTION FOR SANCTIONS
13    Washington noncharter code city; DONNA
      HANSON, in her official and individual
14    capacities; BRET JORDAN, in his official and
      individual capacities,
15
                          Defendants.
16
            I, MARIANNE K. JONES, hereby declare under penalty of perjury under the laws of
17
     the United States and the State of Washington, that the following is true and correct to the
18
     best of my knowledge:
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            1.     I am counsel for Plaintiff in this matter. I am over the age of 18 years,
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     competent to testify as a witness herein, and make this declaration based on my personal
21
     knowledge.
22

23   PAGE 1 – DECLARATION OF MARIANNE K. JONES IN SUPPORT OF PLAINTIFF
     CHEN’S MOTION FOR SANCTIONS
24
                                           JONES LAW GROUP, P.L.L.C.
25                                            11819 NE 34TH STREET
                                              BELLEVUE, WA 98005
                                                 (425) 576-8899
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1           2.      On August 19, 2014, following the Court’s order directing Defendants to

2    produce a hard drive it had previously withheld from Plaintiff through discovery, Defendants

3    finally produced the hard drive to my client. After reviewing the contents of the hard drive, I

     discovered the following material that show extreme prejudice to Plaintiff and warrants
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     sanctions against Defendants:
5
            a.      Exhibit A: October 15, 2009 Executive Summary to City Manager, from
6
                    Police Chief Jeffrey Chen to City Manager Donna Hanson with a printout of
7
                    metadata details of the file showing creation and modification dates of
8
                    October 23, 2009;
9
            b.      Exhibit B: December 31, 2008 Memo from Police Chief Jeffrey Chen to City
10                  Manager Donna Hanson regarding “2009 Police Department Goals” with a
11                  printout of metadata details of the file showing creation and modification

12                  dates of December 30, 2008;

13          c.      Exhibit C: February 18, 2010 Memo from Police Chief Jeffrey Chen to City

14                  Manager Donna Hanson regarding the “Impact to Police operations related to

15                  impending facility move” with a printout of metadata details of the file

                    showing creation and modification dates of February 18-19, 2010;
16
            d.      Exhibit D: October 28, 2010 Memorandum from Police Chief Jeffrey Chen to
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                    the Medina Police Department file regarding “Don Eagon Comment” with a
18
                    printout of metadata details of the file showing creation and modification
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                    dates of October 26-27, 2010;
20
            e.      Exhibit E: March 7, 2007 Status Update Memo from Police Chief Jeffrey
21
                    Chen to the City of Medina Mayor and City Council regarding “Enhanced
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23   PAGE 2 – DECLARATION OF MARIANNE K. JONES IN SUPPORT OF PLAINTIFF
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                                            JONES LAW GROUP, P.L.L.C.
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                                               BELLEVUE, WA 98005
                                                  (425) 576-8899
        Case 2:11-cv-02119-JCC        Document 523                Filed 08/20/14   Page 3 of 4




1                  Public Safety Systems (EPSS)” with a printout of metadata details of the file

2                  showing creation and modification dates of March 7, 2007;

3           f.     Exhibit F: December 29, 2008 Memo from Police Chief Jeffrey Chen to City

                   Manager Donna Hanson regarding “Police Chief Emergency Pay”;
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            g.     Exhibit G: A snapshot printout of metadata of Outlook Data files dated
5
                   February 1, 2011, December 20, 2010, and June 5, 2001;
6
            h.     Exhibit H: Printout of metadata details of documents entitled “Medina Police
7
                   Department” showing creation, modification and viewing dates of December
8
                   23, 2008;
9
            i.     Exhibit I: Printout of calendar dated December 2010
10          j.     Exhibit J: SecureFocus email listing
11          3.     This clearly establishes that Chief Chen did not wipe the hard drive clean as

12   alleged by Michael Bolasina and Ellen Lenhart.

13          EXECUTED AT Bellevue, Washington, this 20th day of August, 2014.

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15                                                 /s/ Marianne K. Jones
                                                   MARIANNE K. JONES
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23   PAGE 3 – DECLARATION OF MARIANNE K. JONES IN SUPPORT OF PLAINTIFF
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                                          JONES LAW GROUP, P.L.L.C.
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        Case 2:11-cv-02119-JCC         Document 523                Filed 08/20/14   Page 4 of 4




1                                     CERTIFICATE OF SERVICE

2
            I hereby certify that on August 20, 2014, I caused the foregoing Declaration of
3
     Marianne K. Jones in Support of Plaintiff’s Motion for Sanctions and attached exhibits to be
4
     served on counsel for Defendants via the Court’s CM/ECF:
5
      SERVED PERSONS:
6
                   Stephanie R. Alexander
7                  Matthew Macario
                   Michael & Alexander, attorneys for Defendants
8
                   Email: Stephanie@michaelandalexander.com
9                         matthew@michaelandalexander.com

10          DATED this 20th day of August, 2014.

11

12                                                  /s/ Marianne K. Jones
                                                    MARIANNE K. JONES
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23   PAGE 4 – DECLARATION OF MARIANNE K. JONES IN SUPPORT OF PLAINTIFF
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